                            Case 4:21-cr-00466 Document 9 Filed on 09/02/22 in TXSD Page 1 of 1
    R AO 472 (Rev 3/86) Order of Detention Pending Trial
                                                                                                                    United States District Court


               United States District Court
                                                                                                                      Southern District of Texas

                                                                                                                         ENTERED
                                                                                                                     September 02, 2022
                                                                                                                      Nathan Ochsner, Clerk
                                             SOUTHERN DISTRICT OF TEXAS
          UNITED STATES OF AMERICA
                     V.                                                ORDER OF DETENTION PENDING TRIAL
                                                                       HEARING WAIVED
    VICTOR HERNANDEZ-PEREZ
                                                                      CASE NO. 4:21CR466
                        Defendant

         In accordance with the Bail Reform Act; 18 U.S.C. §3142, a decision on pretrial detention has been made. I conclude that the
following facts require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact

Defendant is charged with entering the United States illegally, after having been deported on an earlier occasion. An immigration
detainer has been lodged against this defendant as he/ is subject to deportation if convicted of the pending charges. [8 USC § 1326(a)
and (b)].


T9 (1)               There is a serious risk that the defendant will not appear.
         (2)         There is a serious risk that the defendant will endanger the safety of another person or the community.

                                                   Alternative Findings (A)
         (1)    There is probable cause to believe that the defendant has committed an offense
                          for which a maximum term of imprisonment of ten years or more is prescribed in 21 USC § 841. et. seq.      .
                          under 18 U.S.C. §924(c).
       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions
                ( ) will reasonably assure the appearance of the defendant as required ( ) the safety of the community.
                                                         Alternative Findings (B)
Defendant is charged with firearms violations under 18 U.S.C. § 922 et., seq; and
       ( ) he/she is still in state custody on a previous conviction.
       ( ) is currently on ( ) probation. ( ) parole.
       ( ) his/her criminal history indicates a failure to comply with previous court orders.

                                             Part II - Written Statement of Reasons for Detention

No appropriate conditions of release are available and defendant has waived his/her right to a hearing on pre-trial detention.
                                                  Part III - Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court
of the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States marshal for the purpose of an appearance in connection with a court proceeding.


Dated: September 2, 2022
                                                                                           Peter Bray
                                                                                   United States Magistrate Judge
